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                     EXHIBIT 8
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August 28, 2023

VIA EMAIL AND SECURE FILE TRANSFER

Jennifer L. Farer
Matthew F. Scarlato
Senior Trial Counsel
Division of Enforcement
U.S. Securities and Exchange Commission
100 F. Street, NE
Washington, DC 20549

     Re:          Binance Holdings Limited, et al. v. SEC, No. 23 Civ. 1599 (ABJ)

Dear Ms. Farer and Mr. Scarlato:

       We write on behalf of BAM Trading Services Inc. (“BAM Trading”) and BAM
Management US Holdings Inc. (“BAM Management” and collectively, “BAM”) to provide a
document in further response to the SEC’s First Set of Requests for Production of Documents and
Inspection (the “RFPs”) to BAM, and in response to Mr. Scarlato’s August 24, 2023 email
requesting “the letter that Mr. Fernandez testified FGMK received from BAM on August 18,
2023.” Enclosed please find a document bearing Bates numbers BAM_SEC_LIT_00004990
through BAM_SEC_LIT_00004995. The document is a copy of the letter referenced in Mr.
Scarlato’s August 24, 2023 email, which BAM is producing in response to requests 6, 9 and 22 of
the RFPs.

Sincerely,

/s/ Matthew Beville

Matthew Beville

Enclosure
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                                Exhibit A

Bates Range                     Request No.

BAM_SEC_LIT_00004663 through
BAM_SEC_LIT_00004668            6, 9, 22
